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                                           KELLY L. STEPHENS, Clerk

Appendix C — Images of the Kentucky Colonel
The Kentucky Colonel – A Composite of History, Satire, and Civic Honor

Stature & Bearing:

A tall, broad-shouldered gentleman in his late 50s or early 60s, his posture is upright—erect from years

of both battlefield experience, storytelling, and public oratory. He exudes the quiet, commanding

confidence of a man who has led both militia and legislature.


Facial Features:

A weathered but dignified face with rosy cheeks

from bourbon or frontier wind. He sports a white

goatee and prominent mutton-chop sideburns, as

described in Appendix B’s uniform evolution. His

expression toggles between seriousness and wry

amusement, hinting at the dual nature of his public

persona—half gallant, half satire, but always

honorable.


Attire:

Frock coat or Prince Albert suit in dark

broadcloth, worn over a high-collared shirt with

a string bow tie (referencing the mid-to-late

19th-century uniform cited by the Kentucky Bar

Journal).
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Baggy trousers, well-worn leather boots, and a broad-brimmed planter’s hat (as seen in both Frances

Trollope’s depiction and Stevenson’s memoir).


At his side, perhaps a saber or dueling pistol—not for use, but for prestige. He wears a colonel’s sash

or ribbon—ceremonial, yet suggesting a trace of legitimate martial past.


Accessories:

In one hand: a silver-handled cane or perhaps a folded newspaper like the Courier-Journal.​

In the other: a frosted mint julep glass, condensation trailing down the etched glass, a sprig of mint

crowning the crushed ice.​

Tucked into his breast pocket: a hand-rolled cigar or pamphlet from a local civic association.


Backdrop/Scene Setting:

He stands in front of a brick tavern or courthouse, with rolling Kentucky hills in the distance. A

thoroughbred horse or bloodhound may linger near, nodding to the agricultural and hunting culture.​

Behind him, a colonial land grant map, perhaps visible in a window or under his arm—marking his

stake in law, land, and leadership.


Aura & Symbolism:

The aura is equal parts:


   ●​ Civic official authority (Appendix A, e.g., Bowman, Logan, Shelby).

   ●​ Public satire and social ritual (Appendix B, e.g., Judge magazine, Stevenson, Trollope).

   ●​ Southern hospitality and pride, tinged with self-awareness and humorous theatricality.
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Postcards
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Photographs

News Photo of Two Kentucky Colonels arriving in Canada by Train — 1912




Photograph: “Two Kentucky Colonels Arriving in Canada by Train.” In Scenic Beauties of Lethbridge:
Special Souvenir Edition, Lethbridge, Alta. Board of Trade; Business Mens' Association; illustrated by
S. LaFeits. Lethbridge, Alberta: Business Mens’ Association, 1912.
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Antiques Magazine - 1833 Lithograph
The Kentucky colonel drinking a julep, American manners at the theatre, and the secrets of the
American damsel’s toilette, as of 1832, are here revealed.

“The Kentucky Colonel Drinking a Julep.” Antiques 9, no. 2 (February 1926): 81.

Source: https://archive.org/details/sim_magazine-antiques_1926-02_9_2/page/80/mode/2up




                                                                              Original image from
                                                                              Magazine

                                                                              Offered for sale in
                                                                              Antiques Magazine sold
                                                                              to a private collector.




                                                                             Reproduction image
                                                                             created for the Kentucky
                                                                             Colonels Book.
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Country of Kentucke




First map of Old Kentucky, shows settlements established from 1774-1784, close examination of
this map indicates that ''colonels'' are indigenous to Kentucky both semantically and in law
including Colonel Isaac Shelby. This map is in the Library of Congress public collection.

High Resolution Map: <https://www.loc.gov/resource/g3950.ar301200/>
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Rank and Grade Commission (Militia Style)
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The Kentucky Colonel Commission under the showman Governor Ruby Laffoon instead
of an idea based in ''Old Kentucky'' traditions decided to use the write in format to make
his Kentucky Colonels with a ''rank and grade of colonel'' as his ''aide-de-camp'', when
the ''Honorable Order of Kentucky Colonels'' incorporated on his whole ''vacated order
ideology'' and ''military legacy thing'' in 1957, the Commonwealth did an about face,
started making Kentucky Colonels without using the militia terminology originated by
Gov. Ruby Laffoon. The Laffoon method for making colonels endured from 1933
through 1957, when it became a civil award once again, HOKC snatched up on the old
award idea by incorporating it.

During his term Governor Ruby Laffoon used this form 10,367 times, making 9,864
Kentucky Colonels, 418 Kentucky Admirals, and 85 Assorted Appointments and
Positions on his Honorary Staff.
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Kentucky Colonel Commission (Civil Type)
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The Appellant contends that the Kentucky Colonel Commission is a legal act, Kentucky
Supreme Court Justice Bertram Combs said in 1953 that the instrument was real and
entitled the holder as an officer of the state, just like a notary public. This Act is a form of
''letters patent'' which in fact is all the Circuit Court needs to make a series of decisions on
its own that do not favor the plaintiff.

This civil commission style has been in use since 1950



Kentucky Colonel Society (University of Kentucky)




It was actually called the Society of Kentucky Colonels, based on a group of University of
Kentucky professors that formed the ad hoc organization in the late 50s. The University of
Kentucky has not had an active group of colonels on campus since the late 1990s. The
organization was not associated with the Honorable Order of Kentucky Colonels.
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A Kentucky Colonel (1889) - Opie Percival Read




A Kentucky Colonel, a novel about post-antebellum Kentucky as it was introduced in the
Arkansas Traveler in 1889. The book ''A Kentucky Colonel'' became a best-seller in 1890, it was
so popular that it was made into a silent movie called ''The Kentucky Colonel'' 30 years later in
1920. A Kentucky Colonel is not the only book with Kentucky colonels in it.
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The Kentucky Colonel (Silent Film)




In 1920 the 1890 book ''A Kentucky Colonel'' became a silent movie.
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Col. Remington Osbury




National Film Company poster of ''The Kentucky Colonel'' promotion release (1920).
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Kentucky Colonels (1965)




In real life, there is more than one Kentucky Colonel, there always has been and there always will be;
each one is issued the Honorable Title with letters patent as a colonel. Here Col. Dave Thomas, founder
of Wendy’s and Col. Harland D. Sanders the inventor of the Kentucky Fried Chicken famous recipe;
both of them appear here as Kentucky Colonels and they wanted others to know about it, as well as how
they were entitled to use the ''Colonel style and title'', and neither of them maintained a sustainable or
actual relationship with the Appellee. This is what it looked like in the 1960s and 70s.
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Kentucky Colonels baseball (c. 1882)




Before they were called the Louisville Colonels in 1891, they were called the Kentucky
Colonels baseball team in 1882.
